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 4
     Attorney for Defendant Joseph McAllister
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 7
                                   UNITED STATES DISTRICT COURT
 8
                                 EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA             )                    CASE NO.      2:04-cr-0218-MCE
11                                        )
                 Plaintiff,               )
12                                        )
           v.                             )                    STIPULATION AND
13                                        )                    (PROPOSED) ORDER
     JOSEPH WILLIAM McALLISTER,           )                    TO CONTINUE SENTENCING DATE
14                                        )
                 Defendant.               )                    Date: February 28, 2006
15    ___________________________________ )                    Time: 8:30 a.m.
                                          )                    Hon. Morrison C. England, Jr.
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17
              With the Court’s permission, defendant JOSEPH WILLIAM McALLISTER and plaintiff
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     UNITED STATES OF AMERICA, by and through their undersigned counsel, do hereby
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     stipulate and agree to vacate the defendant’s Sentencing Hearing, presently set for February 28,
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     2006 at 8:30 a.m., and reset it for April 4, 2006 at 8:30 a.m. This rescheduling is necessary due
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     to the parties’ attempts to resolve a sentencing issue.
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      Case 2:04-cr-00218-MCE Document 102 Filed 03/06/06 Page 2 of 2


 1          It is further stipulated and agreed that time will continue to be excluded for the same
 2   reasons articulated in our prior court appearances.
 3
 4   DATED: February 10, 2005                      /s/ William J. Portanova
                                                   WILLIAM J. PORTANOVA
 5                                                 Attorney for Defendant
                                                   JOSEPH WILLIAM McALLISTER
 6
 7
     DATED: February 10, 2005                      /s/ Philip A, Ferrarri
 8                                                 PHILIP A. FERRARRI
                                                   Assistant United States Attorney
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10
11   IT IS SO ORDERED.
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     DATED: March 3, 2006
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15                                                 ___________________________________
                                                   MORRISON C. ENGLAND, JR
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                                                   UNITED STATES DISTRICT JUDGE
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